                    UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                            3:21cv432-MOC

UNITED STATES OF AMERICA      )
                              )
         v.                   )
                              )
APPROXIMATELY $15,279.00 IN   )
UNITED STATES CURRENCY SEIZED )
FROM ROSMEL TORRES MIRAMONTES )
ON FEBRUARY 17, 2021          )


                         ORDER OF DEFAULT JUDGMENT

      THIS MATTER IS BEFORE THE COURT on the Government’s Motion for

Entry of Default Judgment (Doc. 7). Having considered the Motion and the pleadings,

the Court GRANTS the Motion and Order as follows:

      IT IS HEREBY ORDERED THAT Judgment by Default is entered against all

persons in the world not having filed a claim in this action as to the following

property:

      Approximately $15,279.00 in United States Currency seized from

Rosmel Torres Miramontes on February 17, 2021.




                              Signed: November 24, 2021




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